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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Crave Products, Inc.                           )
                                               )       Case No. 1:19-cv-1765
v.                                             )
                                               )       Judge: Hon. Gary Feinerman
THE PARTNERSHIPS and                           )
UNINCORPORATED ASSOCIATIONS                    )       Magistrate: Hon. Susan E. Cox
Hon. IDENTIFIED ON SCHEDULE “A”                )
                                               )

                                       Voluntary Dismissal

        Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Crave Products, Inc., voluntarily

dismiss any and all claims against defendants without prejudice:

 Doe Store Name                            Store ID
 10     keepingcoox                        keepingcoox
 18     ydjunyang                          ydjunyang
 223    kitchen&bar Supplies Store         3581018
 417    Beaverve                           A299URD8H5UDLK

Dated: July 4, 2019
                                               Respectfully submitted,


                                               By:      s/David Gulbransen/
                                                       David Gulbransen
                                                       Attorney of Record

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